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 10
                            UNITED STATES DISTRICT COURT
 11
                         CENTRAL DISTRICT OF CALIFORNIA
 12
    CHINA BRANDING GROUP                        Case No. 2:20-CV-06759 RGK (JC)
 13 LIMITED (IN OFFICIAL
                                                DEFENDANT TONY
 14 LIQUIDATION), by and through its            BOBULINSKI’S ANSWER AND
    Joint Official Liquidators, Hugh            AFFIRMATIVE DEFENSES TO
 15 Dickson of Grant Thornton Specialist        COMPLAINT
    Services (Cayman), Limited and David
 16 Bennett of Grant Thornton Recovery &        Judge: Hon. R. Gary Klausner
    Reorganisation Limited,
 17                                             Complaint Filed: July 28, 2020
 18             Plaintiff,

 19 v.
 20 TONY BOBULINSKI
 21            Defendant.
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                                                             Case No. 2:20-CV-06759 RGK (JC)
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  1         Defendant Tony Bobulinski (“Bobulinski” or “Defendant”), by and through
  2 his undersigned counsel, answers Plaintiff China Branding Group’s (“CBG’s” or
  3 “Plaintiff’s) Complaint in the above-captioned matter as follows:
  4                                    JURISDICTION
  5         1.    Admit that Plaintiff brings an action seeking recognition of a foreign
  6 judgment pursuant to the Uniform Foreign Country Money Judgments Recognition
  7 Act (“UFCMJRA”), California Code of Civil Procedure section 1713, et seq., and
  8 pursuant to principles of comity. Bobulinski denies the remaining allegations of this
  9 paragraph.
 10         2.    Admit.
 11         3.    Bobulinski is without sufficient knowledge or information to form a
 12 belief as to the allegations of Paragraph 3, and, on that basis, denies the allegations
 13 in this paragraph.
 14         4.    Admit.
 15                             FIRST CLAIM FOR RELIEF
 16      RECOGNITION OF FOREIGN JUDGMENT UNDER THE UFCMJRA
 17        5.     Bobulinski incorporates by reference as though fully set forth herein his
 18 responses to the preceding paragraphs of Plaintiff’s Complaint.
 19        6.     Admit that Bobulinski is a putative creditor of China Branding and that
 20 he claims that in 2015 and 2016 he loaned a total of $650,000 to China Branding.
 21 The remaining allegations in Paragraph 6, including those as to Bobulinski claiming
 22 he is entitled to a payment of a 2.5x multiplier pursuant to the terms of the loan
 23 agreement contain legal arguments, opinions and conclusions that require no
 24 response. Bobulinski otherwise denies the allegations of this paragraph.
 25        7.     Admit that Bobulinski submitted a proof of debt in CBG’s liquidation
 26 proceeding, claiming $1,765,000 as a secured creditor of CBG. Admit that the JOLs
 27 rejected his claims to a multiplier and to priority as a secured creditor, but allowed
 28 an unsecured claim in the amount of his $650,000 loan. The remaining allegations

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  1 of Paragraph 7 contain legal arguments, opinions and conclusions that require no
  2 response. Bobulinski otherwise denies the allegations of this paragraph.
  3        8.     Admit.
  4        9.     Admit that Exhibit A to the Complaint consists of two Costs
  5 Certificates dated November 13, 2018 and January 8, 2019, respectively. Admit that
  6 the two Cost Certificates state that an Order for Costs was issued against Tony
  7 Bobulinki on April 5, 2018 in the amount of $56,431.82, and another Order for
  8 Costs was issued against Bobulinski on September 28, 2018 in the amount of
  9 $57,208.58. Admit that Bobulinski has paid approximately $41,417.82 towards
 10 satisfaction of the Costs Certificates in Exhibit A which were issued before the
 11 underlying proceeding identified in Paragraph 10. The remaining allegations
 12 contain legal conclusions, arguments, and opinions that require no response.
 13 Bobulinski otherwise denies the allegations of this paragraph.
 14        10.    Admit that a hearing took place over portions of five days in the
 15 proceeding entitled In the Matter of China Group Limited (In Official Liquidation),
 16 Cause No. FSD 52 of 2016 (RMJ) (the “Cayman Islands Action”) in October 2018.
 17 Admit that the judgment that issued on January 23, 2019 is attached as Exhibit B to
 18 the Complaint. The remaining allegations of Paragraph 10 contain legal arguments,
 19 opinions and conclusions that require no response.
 20        11.    Admit that Exhibit C of the Complaint is a May 6, 2019 Default Costs
 21 Certificate issued by the Cayman Islands Grand Court Registrar stating that an
 22 Order for Costs was issued against Tony Bobulinski in the amount of $562,170.94
 23 on February 5, 2019. The remaining allegations contain legal conclusions,
 24 arguments, and opinions that require no response. Bobulinski otherwise denies the
 25 allegations of this paragraph.
 26        12.    Paragraph 12 contains legal conclusions, arguments, and opinions that
 27 require no response. Bobulinski otherwise denies the allegations of this paragraph.
 28        13.    Deny.

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  1                            SECOND CLAIM FOR RELIEF
  2      RECOGNITION OF JUDGMENT PURSUANT TO INTERNATIONAL
  3                                         COMITY
  4         14.    Bobulinski incorporates by reference as though fully set forth herein his
  5 responses to the preceding paragraphs of Plaintiff’s Complaint.
  6         15.    Admit that the Court has authority to recognize foreign judgments
  7 outside the scope of the UFCMJRA under the principles of comity, but deny that
  8 such principles apply here.
  9         16.    Deny.
 10                                 PRAYER FOR RELIEF
 11         In response to Plaintiff’s Prayer for Relief in the Complaint, Bobulinski
 12 denies that Plaintiff is entitled to any relief from Bobulinski, whether prayed for or
 13 otherwise.
 14                              AFFIRMATIVE DEFENSES
 15         Pursuant to Rule 8(c) of the Federal Rules of Civil Procedure, Bobulinski
 16 further pleads the following separate and additional defenses. By pleading the
 17 Affirmative Defenses set forth below, Bobulinski does not agree in any way or
 18 concede that it bears the burden of proof or the burden of persuasion on any of these
 19 issues, whether in whole or in part. Each of the following Affirmative Defenses
 20 apply to each cause of action, unless specifically set forth to the contrary. For its
 21 Affirmative Defenses to the Complaint, Bobulinski pleads as follows:
 22                           FIRST AFFIRMATIVE DEFENSE
 23                                (Failure to State a Claim)
 24         The Complaint fails to state a claim upon which relief can be granted.
 25                         SECOND AFFIRMATIVE DEFENSE
 26                 (Judgment Should Not Be Recognized Due to Fraud)
 27         The purported foreign judgment was obtained by fraud that deprived
 28 Defendant of an adequate opportunity to present his case. Accordingly, it should

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  1 not be recognized under California’s Uniform Foreign Country Money Judgments
  2 Recognition Act.
  3                         THIRD AFFIRMATIVE DEFENSE
  4          (Judgment Should Not Be Recognized Due to Inadequate Forum)
  5        The purported foreign judgment sued upon was obtained in an inadequate
  6 forum, in violation of the forum selection clause in the written agreements between
  7 the parties. Accordingly, it should not be recognized under California’s Uniform
  8 Foreign Country Money Judgments Recognition Act.
  9                        FOURTH AFFIRMATIVE DEFENSE
 10          (Judgment Should Not Be Recognized for Public Policy Reasons)
 11        The purported foreign judgment or the cause of action or claim for relief on
 12 which the judgment is based is repugnant to the public policy of California and/or of
 13 the United States. Accordingly, it should not be recognized under California’s
 14 Uniform Foreign Country Money Judgments Recognition Act.
 15                         FIFTH AFFIRMATIVE DEFENSE
 16        (Judgment Should Not Be Recognized Due to a Lack of Due Process)
 17        The specific proceeding in the foreign court leading to the judgment was not
 18 compatible with the requirements of due process of law, including those guaranteed
 19 by the Fourteenth Amendment to the United States Constitution. Accordingly, it
 20 should not be recognized under California’s Uniform Foreign Country Money
 21 Judgments Recognition Act.
 22                         SIXTH AFFIRMATIVE DEFENSE
 23               (Judgment Contrary to the Parties’ Written Agreement)
 24        The relief sought by Plaintiff is contrary to the April 2015 Senior Secured
 25 Convertible Promissory Note and the April 15, 2015 Pledge Agreement between the
 26 parties, and the forum selection clause contained therein, such that the proceeding in
 27 the foreign court was contrary to an agreement between the parties under which the
 28 dispute in question was to be determined otherwise than by proceedings in that

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  1 foreign court. Accordingly it should not be recognized under California’s Uniform
  2 Foreign Country Money Judgments Recognition Act.
  3                       SEVENTH AFFIRMATIVE DEFENSE
  4                                         (Offset)
  5        While Defendant denies that Plaintiff is entitled to any recovery at all,
  6 Defendant alleges that any such recovery must be offset against amounts Plaintiff
  7 owes or is found to owe to Defendant by virtue of Plaintiff’s conduct and breaches
  8 of its contractual obligations to Defendant.
  9                        EIGHTH AFFIRMATIVE DEFENSE
 10                               (Actions of Third Parties)
 11        The conduct Plaintiff complains of resulted, if at all, from the actions of third
 12 parties for which Defendant is not responsible. If Plaintiff sustained any loss,
 13 injury, or damages, equitable or legal, based on the allegations in the Complaint,
 14 such damages, loss or injury was caused by others, and not by Defendant.
 15                         NINTH AFFIRMATIVE DEFENSE
 16                                    (Unclean Hands)
 17        The Complaint is barred, in whole or in part, by the doctrine of unclean
 18 hands.
 19                         TENTH AFFIRMATIVE DEFENSE
 20                                       (Estoppel)
 21        The Complaint is barred, in whole or in part, based on the principles of
 22 estoppel.
 23                      ELEVENTH AFFIRMATIVE DEFENSE
 24                                        (Laches)
 25        The Complaint is barred, in whole or in part, by the doctrine of laches.
 26                       TWELFTH AFFIRMATIVE DEFENSE
 27                                        (Waiver)
 28        The Complaint is barred, in whole or in part, by the doctrine of waiver.

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  1                     THIRTEENTH AFFIRMATIVE DEFENSE
  2                             (Failure to Mitigate Damages)
  3         The Complaint is barred, in whole or in part, based on Plaintiff’s failure to
  4 mitigate damages.
  5                     FOURTEENTH AFFIRMATIVE DEFENSE
  6                                        (Justification)
  7         Plaintiff’s claims are barred, in whole or in part, because Defendant’s actions
  8 with respect to the subject matter alleged in the claims were undertaken in good
  9 faith with the absence of malicious intent to injure Plaintiff and constitute lawful,
 10 proper, and justified means to further its purpose of engaging and continuing his
 11 business.
 12                      FIFTEENTH AFFIRMATIVE DEFENSE
 13                                  (Limitation of Assets)
 14         Any jurisdiction, judgment, or relief afforded Plaintiff must be limited to the
 15 amount of assets that Defendant may maintain in California, if any.
 16                     ADDITIONAL AFFIRMATIVE DEFENSE
 17                          (Subsequently Discovered Defense)
 18         Defendant has insufficient knowledge or information upon which to form a
 19 belief as to whether he may have additional affirmative defenses and reserves the
 20 right to assert additional defenses if and as he learns of facts that may support such
 21 defenses.
 22                                          PRAYER
 23         WHEREFORE, Defendant prays for relief as follows:
 24         1.    That the Complaint be dismissed, with prejudice and in its entirety.
 25         2.    That Plaintiff take nothing by this action and that judgment be against
 26               Plaintiff and in favor of Defendant;
 27         3.    That Defendant be awarded his attorneys’ fees and costs incurred in
 28               defending this action;

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  1        4.    That Defendant be granted such other and further relief as the Court
  2              may deem just and proper.
  3
  4
      DATED: September 30, 2020           BAKER MARQUART LLP
  5
  6
  7                                       By: s/ Ryan G. Baker
  8                                           Ryan G. Baker

  9                                           Attorneys for Defendant Tony Bobulinski
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